IN THE UNITED STATES DISTRICT COURT FOR THE
MIDDLE DISTRICT OF TENNESSEE

Defendants.

NINA SPEARS, )
)
)
Plaintiff, )
)
)
)
) NOTICE OF REMOVAL
SPi AMERICA, LLC and ACUSIS, LLC)
) Jury Trial Demanded
)
)

DEFENDANT SPi AMERICA, LLC’s NOTICE OF REMOVAL AND MEMORANDUM
OF LAW

PLEASE TAKE NOTICE that under 28 U.S.C. §§ 1332, 1441(a) and 1446, Defendant,
SPi AMERICAN, LLC (“SPi”) files this NOTICE OF REMOVAL of this case from the Circuit
Court for Davidson County Tennessee at Nashville, to the United States District Court for the
| Middle District of Tennessee. Defendant ACUSIS, LLC (“Acusis”) consents to removal. In
support of this Notice of Removal, SPi states as follows:

CASE BACKGROUND AND FOUNDATION FOR REMOVAL

1. On or about November 16, 2011, Plaintiff Nina Spears (“Ms. Spears”)
commenced a wrongful termination action in the Circuit Court for Davidson County Tennessee
at Nashville, against defendants, SPi and Acusis. SPi America was served with the Summons &
Complaint on November 21, 2011 at 2960 Professional Drive, Springfield, Illinois. Acusis was
served with the Summons & Complaint on November 23, 2011(a true and correct copy of both
Summons and the Complaint is attached as Exhibit A). Ms. Spears’ Complaint (“Complaint”)

seeks judgment against SPi and Acusis in the amount of $600,000.00 for compensatory damages

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and $200,000.00 in punitive damages. Ms. Spears’ claims are based on an alleged retaliatory
action allegedly taken by Defendants that resulted in Ms. Spears’ termination.

3. This Court has original jurisdiction over this matter pursuant to 28 U.S.C. § 1332
because it is a civil action based upon the diversity of citizenship with more than $75,000 at
issue. Further, this matter is one that may be removed to this Court pursuant to 28 U.S.C. §
1441 (a).

4. Venue is proper in this Court, because the state court action is pending in the
Circuit Court for Davidson County, Tennessee at Nashville. See 28 U.S.C. § 1441(a).

COMPLETE DIVERSITY OF CITIZENSHIP

5. There is complete diversity of citizenship between the parties.

(a) Plaintiff: Ms. Spears is a citizen and resident of Davidson County, Tennessee.
(b) Defendants: SPi is a corporation formed in Delaware and having a principal
address of 2960 Professional Drive, Springfield, IL. Acusis purchased SPi on or about

September 30, 2011. Acusis is a Delaware LLC, having a principle address at 200 1°

Ave, 3 Floor, Pittsburgh, Pennsylvania 15222-1512.

Thus, both Defendants are diverse from Plaintiff Spears.
AMOUNT IN CONTROVERSY EXCEEDS $75,000.00

6. Plaintiff Spears quantifies the amount of damages she seeks to recover in this
case. See Exhibit A, pg. 4 {] 2-3. From the face of the Complaint, it is undisputed the amount in
controversy exceeds $75,000, exclusive of interest and costs.

7. Given the complete diversity of the parties and an amount in controversy in

excess of $75,000, this Court has jurisdiction over the causes of action and claims asserted in the

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state court action pursuant to 28 U.S.C. § 1332, and this action properly is removable pursuant to
28 U.S.C. § 1441.
OTHER ISSUES

8. Rule of Unity: the Sixth Circuit has adopted the rule of unanimity. Loftis v. United
Parcel Service, Inc., 342 F.3d 509, 516 (6th Cir. 2003). For proper removal, all defendants must
consent to the removal. This Notice of Removal, signed by counsel for all Defendants, shall
serve as evidence that all Defendants consent to removal of this action to this Court.

9 This Notice of Removal is timely filed as removal is proper up to 30 days after the
date that service of process is received by the Defendants. See 28 U.S.C. § 1446(b).

10. SPi notified Ms. Spears of this Notice of Removal via certified mail and email.

11. A Notice of Filing of Notice of Removal to Federal Court (attached herein) will
be filed in the state court, as soon as this Notice of Removal has been filed in this Court.

12. SPi hereby states there are no hearings set before the state court, from which this
case is removed, and all pleadings and process files therein of which SPi is aware are attached
hereto.

CONCLUSION

Because Plaintiff and all Defendants are diverse, and the amount in controversy exceeds
$75,000, exclusive of interest and costs, this Court has jurisdiction over Plaintiff Spears’ claims
pursuant to 28 U.S.C. § 1441. Alternatively, this Court has original jurisdiction over this matter

pursuant to 28 U.S.C. § 1332. Defendants are therefore entitled to remove this case to this Court.

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WHEREFORE, Defendant SPi requests the action now pending before the Circuit Court

for Davidson County, Tennessee at Nashville, Civil Action No. 11C4582, be removed to this

Court.

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Respectfully submitted,

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Attorney for Defendant SPi

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CERTIFICATE OF SERVICE
awl!
I hereby certify that on the 20 May of December 2011, this Defendant SPi’s Notice of
Removal and Memorandum of Law was mailed via First Class Mail and electronically filed with

the Clerk of Court using CM/ECF which will send a notice of electronic filing to all CM/ECF

participants:

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